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                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: 6000 Reward Stickers for Kids(27 Styles),Kids Stickers and Teacher Stickers, Sticker Pack with Smiley face Stickers, Star Stickers, Incentive Stickers for Classroom Teaching and Home use : Office Products

   URL
   https://www.amazon.com/Stickers-Teacher-Incentive-Classroom-Teaching/dp/B0BJ2FVCFQ/ref=sr_1_74

   Collection Date
   Thu, 20 Apr 2023 08:06:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X8fQQSk1JwSqWiXbkirS7HXhZps82WJYzPT7uEdOJz8llRzKTugZKq89uc9Oh/tZncEyg5KZBJBAsgy2MGV2cuj1drOKn4ZEgDZlLUTk+6uRaJJfg5bdnSv+buF/glMAGmSjc489kktPNRCk8dlqJUTM25QrJ/OWbCoAH4jJIE4=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Teacher-Incentive-Classroom-Teaching[fs]dp[fs]B0BJ2FVCFQ[fs]ref=sr_1_74]]_Thu,-20-Apr-2023-08-06-12-GMT.pdf

   Hash (SHA256)
   0a7d089a93234f988530f204edf2fe063b2d59d9c578230b3187c44de7464425

   Signature (PKCS#1v1.5)
HHOOcY8eynDGuKQAK9nngzNnw8+nBEpcgjJmA2WXfYlEjnV0bRXHOB0ANs9webnT4QUVbrl88srlCmmVcimW994CQluj4KKKAGx41PQAWMRY/4LPpl0ZQtVjR2t0LL6mPtNuAm9ZcpRVb/vTwujTMi8kabl88//xxrHA3zlqlis=
                                                                                  Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 05:51:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MkTBC+iBMhlkkdDI7g/tRjdxCHtNVc3arjL4c2gh7UmHJucB94Q5BLuCBod6pW7VeyRu/uNtku8w0rMQ+NoattSNsstgHONHkPJsKl4lBT37gYNpEDWErMHqICn7R4DeZWK0MLsU/xw6LcLGoQMKagJrfmgutgoO3f5Wz41YwUKt7mMGdEEjCzwc
   +6T46oMBPFH4oyiyMTZwj3KtQAZzrzltvVyCeW80v19QRS20joBMhbdKcuBDA7T4OfCpGOnLku8oRSdzrozJ6zfw3XP0TcCymgVT2Gu/sR8le8QidIO8eQu1s5biy+Igh08oboHhIiDF8UQR4IUTGbUOQ1ww3w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-05-51-55-GMT.mhtml

   Hash (SHA256)
   0901df9e33f105a77e1f86bea5cd68c8b9b2714cda658d49253581a2e8995c8f

   Signature (PKCS#1v1.5)
juWiRatAiKie5yRfpK5etrkIzXZ0FdEnHaQyFj9wbhzWHOiRaPWhTQ2FjZ9UlV5MDU/26Bjohp3S/FPApZOrfODfiyy8KTAwxnhsGcnZEoD6Bvk7jx/3QxEa9OjCVuI/3f3p1YcTdlD0noMSFNW+QCmmJVRTZMtgxTjpQaMRuW1lFUgG84rTAH1/7b0i
+O43DjhbTMPvztQkzIZKAlDE3SbRksM5gBdFudValn/WZx6TQJIAvGN06huzp7rkMFlLUKsHvLOfl0AZHxGoJvpzqaAOOlTXMtXl1cAmPoMyzv5D1wV3OL1qFHXJ5G2pXf/THulFTGyaEO1hEYKxs5ukfQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: SLOONG Y2K Necklace Smiley Face Pearl Choker Necklace Summer Rainbow Polymer Clay Vsco Beads Necklace Colorful Boho Cute Handmade Jewelry for Teen Girls Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Rainbow-Colorful-Handmade-Children/dp/B097G9ZQN3/ref=sr_1_172

   Collection Date
   Thu, 20 Apr 2023 05:07:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KJa63q0D9xTx1lvSMkl/JAi5j/z+QiU9GSdISkIhQQOrvfUMfD/nEq8NWDPk0lLgWwLu9XMvS44of89mX7UcmsRNaXsKjm2B6c0eyQT0IvVsOJj9eD6FeDS+MnKsAzbN60Cy2lLmtb+MktmoXzU2b6T22aH6srq5doIpLMWcBWA=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Rainbow-Colorful-Handmade-Children[fs]dp[fs]B097G9ZQN3[fs]ref=sr_1_172]]_Thu,-20-Apr-2023-05-07-46-GMT.pdf

   Hash (SHA256)
   c0fa012c6508bdc0980ad4a0ccd41cc4c3fd5315277f817dfb9347fcb3f30215

   Signature (PKCS#1v1.5)
OSwOSNwRI+kySY+Gf43+0A7a24KpbWd9gCc7B6W1J7EI1qhdWSOB64RxTljR/lQyyWswgQs3AZ3QUFmYKMNEB2eC+cUPxYVJ22WQrLSEb8SYYfQx65Ms6YCjztxxCraMSa0jnfwfHeOgu9Xj3C44jEztXfFqG6b24MmFvtmBVyE=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 11:15:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RM7PWvCpbE2L6nsZMF2T7zCyGesNjOHtNsPiLOJ935WzuIHP1vcsR99C7DoXDPhbV7AUwnIs/FwZMO50aTNf6SuciOjFN2HYZTxoNj7KAQxPMovCkuCCHAQ7FiGVX3NsfREYnW/0oZBLCagjNxPqIvIL7OOX1PuNYuRTbsNzJXydWURRI5pRM2HAFVyCUcMOKJIznG+/
   ivEmlNqHtFPBOpCw1CEWWNikp/cxDNxFbfoIWNoMxDOWSdv68dMho6tCRT6DB0CnJkIz2aoeaNn/3kukeV4N9i3viQ+gHtj6xEBt33Pn+BYb0qSnlfqnvOdAcBrk2+5huXspfbeIcSA1Bg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-11-15-27-GMT.mhtml

   Hash (SHA256)
   2ed311ee638f4420874e868a5b7f9182ecd1d50ac531b2e7cf72c475b2f349cc

   Signature (PKCS#1v1.5)
lCtOlmthwwVsxOTqJsB5GzmkULtql7fLW95SJ3YSMGdhAwqkWU214Lb/57UOpI4XcvSIX88cn+gmjlJtC8tU9N5ZrCLIsusOsMTW6WIZOAlEkS+6WaqfNTSAQ1pJG0RX0m2Y4AyLSpL193gsyBJPpeX2M+3dOX46W
+ne3INm6jdRe2OdG7IjrBjgujwIy8du5PnzVe4C0aOHkQFkzsmUGZrTnJwWsxlnwIz/welSYW35dCGC5bakyFlpd7Q4DJ1Qw+n+o4WJ3BkBeAD3FBBc0EnCx07bX009bZ5qt2w2fda/v4OicW2/ulyGmEnqPS6emLnqTQr7wuk9T1oYJj48dA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                                                Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 04 May 2023 10:57:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   B+GQjn+CZ120qdh3WFRm/cA7yul29J5wCTIs5bqS1OuTs1pitpkAD1/eXxPGuGu0JVm7s3PUxPV/EAUHRf+evZR
   +91G7tULqBD8FgBf6k5zqni4Rdv56L6GRQMCcUKY3hWad36reS8pFA2mndIvWMfpOyEZYbYj3aj25qiBrodAtNVDT1OhF6Fa6dQdGl8KNuwDQI9v5Md6d4ySWWN6ctdFyup9hFnJ8NRhnpJNrX/48KR9h
   +1CNDkluodYjP3Xc3U8gc8iTjVtXYCxEM52L3ZTdvsBFYz8aHgKBkTsCfdcUg585PkoPJGEyY2mCD4A9Oc1UX4TkvmTAY4sMOQwVfA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-04-May-2023-10-57-35-GMT.mhtml

   Hash (SHA256)
   1750e9d8f40ef7e9c3191921adc46c93f713c7b74ef798aec502bb727ca6a0ba

   Signature (PKCS#1v1.5)
AQqS72vOXpjeVgDjpVe3dWsUcX5mQryI/mnu8L9YlRRVLQHIPeHYjlxfJkH7jGi0+P9BRB2WMtUdarHGof0sGPuEELWc5UnVTvZdB9qqKwcmasd4f9fyn6dGLzz+KgFhdTYPf0yBtQnY+nTlV8u4Cp4M9+ehAdAZOV5QxmCj1fv8f+9k098j+xcUpj+b7JCzSasyhxxIOpKuRSJGyi6q47a71Wg05J
+zKmurfkHF7N+HVUwLU++boPe0DfOuNT/1aue8jlARqSKn6QBjSL+IQGND/3JQU4zJA8jYSCCxzdYa5/BM5c+9NNmph2GJNubeBe88wKvQ0nVLYh4VZLNTbA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | Tofica Smile Face Slippers for Women/Men, Retro Soft Plush House Slippers, Cozy Fuzzy Fluffy Womens Slippers Indoor Outdoor, Anti-skid Sole | Shoes

   URL
   https://www.amazon.com/dp/B0BVFKNYKX

   Collection Date
   Fri, 05 May 2023 10:09:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Fp1oUs4TiTF9pl++t3a3BLfy3sP8VXiukEh18oa+7jq9kNm/UV23OTR7BtdPnr263OdQSvx8aH5ZGvv2fpMFAVkGcgIW3Z6E/S8Y0eWAmoImBI5AoVgaJryVCUInQp1lZdR6vHkdiJPcQYvk1OY+pg1xTdhfa+txzosrVXpyrbeXmKgrHt6RDML8VWWeyMXD5MntHnqzjlY9nBI7GFW
   +flT8CwGQYcjvyC3CK6QXvP+7oEJLcyQxG/UPOYZQaqhdccpdOn7xA3qEybSzvvZDJhYbLcnQQr7ithwMXnIm0+/fA5gEQ9yh/9d59kkrkr33Wvq9S/NRKAmXrKdKMmhszQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BVFKNYKX]]_Fri,-05-May-2023-10-09-31-GMT.mhtml

   Hash (SHA256)
   4a08a7f1c6221e6ad29903851526a66368b073460fa4fcb1490af7b1282bb7f1

   Signature (PKCS#1v1.5)
AV1BtfM0NcLekuY2LEmxdquDADL7wiid6puj0g4aZsjGOpHf5BgbMKcspLajyT6CNuHoawX6TftRgVP6leQZemus9u+y9Y6CUmHi00odDWO9UGdOpbkLxSftXNXuIn1he7NQz3tYAQ4C/SbDqtMOFnb5mMKRZyLPsvZ79zfdg8lqosi05B7zoZEYS/rJT8Qsz5arQxQT0dGRiy3cLWDXYyCzOmZlk2/
QqIJCx9ufLmR0PydwsdKabiNgHl6gzu6kt+gykBYnj5m9ELiByUP2lXlH4gHIwMTyaVwNbQ2beH9cITYUCqvp6UJxhMmiXTceQyLR5/IvS5rqju7MQSBUyQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Slrioks Cute Colorful Smile Face Keep Smiling Phone Case Compatible with iPhone 13 Pro Max Case Lens Protection Shockproof Fashion Soft TPU Clear Happy Smiley Cover Case for Women Girl : Cell Phones & Accessories

   URL
   https://www.amazon.com/Slrioks-Colorful-Compatible-Protection-Shockproof/dp/B0BFQZ59DX/ref=sr_1_87

   Collection Date
   Mon, 24 Apr 2023 09:22:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nSOHOZXHbz8Oj0Oa9CwSqg2QrauiWQG1/NGfrAh7iEVkswtXFSZmY3KdQGisgbS57tYYWK3/t+u2FMFixw3+wcekld01xnpgUU31dFGJXu5Dz88hGE95L3M/YIcYvpg1NutLMm07gem6w5V+AZWZHl1If6HHtXsLHx9VqLCl3yE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Slrioks-Colorful-Compatible-Protection-Shockproof[fs]dp[fs]B0BFQZ59DX[fs]ref=sr_1_87]]_Mon,-24-Apr-2023-09-22-06-GMT.pdf

   Hash (SHA256)
   5bef4b1f22b584c7f38c6eb034ca6291b69f32683d78cff5238de8c6268a87e7

   Signature (PKCS#1v1.5)
I2UiSZcFfrsCoIpUO/DCceASa2ypmkg0vbZiMGmaqe7xQ8NzsZaR8JOpz9nawO7ojGjQcYWlzYfg6Z7KTLczC2elSgtS/a4VOa1xy+/2PV+xgr+0ekEG+ZcsSSdeu7LCSUqTgkwsGudyelp1aCvH2E0ZGMaJ9dpkqOeDIkCnl5Y=
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 00:52:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EnmJ7R+BYR3bhExjAad3zodpFTB/G8qflQLPMOz0J39SXkjK6fJiR/
   Ol0JfxACt7so86mtkfXTVfKeVfxugfccc29UBNVYNSav5lT3hfLlBZEzq6MfMYbvVzrZJ2l9T16HGa4KkfCD7XkqVEXvmAZ8Ed3STFfyb7pHCrUdDwBUqXKvgZAYemdWVQPl8oH2Wg3innJTTMf25GSLuEyEZLpKLkqsJ3AbiB1LFfKftTX/tWTANuOxqYLfgnbX7UQ4esxDJfr8WuhSf
   +tN4Zj98Ap10qnPu0BU7LFIp9TsYLqJpxNdFegMxLzsLAiCqB3xns+9D1YrFHAU0RI5YZNhKqMQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-00-52-48-GMT.mhtml

   Hash (SHA256)
   2eddb643aa3cf18d21c1abb42b25d9bf421a53ed594d156258db064b4f980cb3

   Signature (PKCS#1v1.5)
Jyk6+8d9GJTEA+bo7dFUIUhAeszwc4CyYs1O/lj7jq22268Ce3j3MxoJ3hREshmxwEeW0znt1MzrcSDV4N04qU802Cj7SPYQnjFK25HBee7xftmnepNSQgRebbPPuQ+seV2Qh/Uwo+621Lgh4eL68jo0mFMNhQQzR8uUuwLoil2aTA5sQ
+wSzWccOgqKYe2z2UBDFvaYGywR5dqnTuXW6LUhj2Iqnz4czhhlYFj+eBt1HX0RGQAKgWJoCyT95OHkpO17nGg4LPZI7Gn5aOU6sLwmsUu8ypltKKfC+uLPQg+QHrwTIMLID6HTcGzoK+rwOxQO0L5lTPM+9xpy9sGoQw==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : Ireland Smiley 1" / 25mm Button Badge : Office Products

   URL
   https://www.amazon.com/Ireland-Smiley-25mm-Button-Badge/dp/B07G9NKW33/ref=sr_1_234

   Collection Date
   Wed, 26 Apr 2023 09:24:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h8ayB/28MHoCz8cfe5D6t0cjJ0+xbqiMHkX9lr6hyBvLYs9AGlDQvcI3ua4UXKYDv4yMCORn8ASUwbpwgbTS+SGVTdTz23Nao7+FQC8ROQO6agzhkIBgpLyK3hqh7Sz5xMqpE/GAy/fgWaNzrialDz3OWGPWVVmXmwa3SICfM4I=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Ireland-Smiley-25mm-Button-Badge[fs]dp[fs]B07G9NKW33[fs]ref=sr_1_234]]_Wed,-26-Apr-2023-09-24-28-GMT.pdf

   Hash (SHA256)
   9eb53928ea0241fd0c2d6da9a218b0abcbf7c32b79b5b349d64e83df94a7f075

   Signature (PKCS#1v1.5)
KQs+XDf+ttLDTBY6KYJdufyYKBNxKjArU9i8EnzqcEHptfx7RaeXqU579ohw/yiRH6L5xS9D9EA7j7Af2lXquueh3vOXov7EKKbQLfnkl0pA2nmrxbOlOl8yEIHFV50KFE1+s41yw1gjRsq2X1InFx3bOEO5rhiI3sirt6HYLMM=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 05 Jun 2023 04:54:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.138.143

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GYALIDKn7Xp7BKu4tWb9azA1CF0jRyxfqzp4Ium3x373Sp/kWscFyONQchOql6JVTbjjgtmEkICjjdKTajXggo04RuThl7Szc3uW+r5Kp1jlgQLRqRfdgEyNXr6GH0r/JZQx/q6ShKbfvzmlPIuIzfm40VqrTeE/sviD/8+OVwtoCyy5lbAoDpUi/5Em2ZA+Rd/XPb7HkqQ+ZYqwjtsLR3r
   +VQ6v7cNIXtGiDPdYbsccDngLTEJ5Z0yvI/dNYgRHNW1jMa7SYZr26l6NJbYF8QN560EnwmWQsSJHr+krsVXsOPFLoODPYhyI/mJnvE8+rZt63e6vBLybwGA8Kjmg4A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-05-Jun-2023-04-54-24-GMT.mhtml

   Hash (SHA256)
   04bec3b35f2b6e24d6d7e5b180306890d4e952e2abe1125767164951fdb38151

   Signature (PKCS#1v1.5)
enJeSbDQr0enEd6jPxLPqcC+fR1/EY8xFVU8o/WvOihRSj1zyEkd1phT3q2CZNmW4r6+BjkQYGgnKyo6g1zDsn9CpM2OIrsXolZU0aPo7g5+pxZ44aYNuvxrcPBUWT0wKza3aNf2yGYeh2cBoMbQvX3Lkp9HYFcUdEX+/P3cM/CeX828ju5S//
um2iVJL0diUWe0rqJTfFRCSM4HlDRrYPFAKWS70j8xYdWghbgmN/NajKGrn7FdpePWhm0R5XjHfQJn274zUHlcAdTAnQ07Wravqm07pDt5KVBqDvAuZgwqN3hAbAkN+Zc6lT9VpoehiG7VHIx4k5pfoG3dIkSZVA==
                                                                                   Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com : 1.5 inch Yellow Happy Smiley Face Stickers and Unhappy Red Sad Labels | Round Behavior Sticker Circle Teacher Labels, Great for Teachers, Parents, Arts, Crafts, Reward Charts - Pack of 504 : Office Products

   URL
   https://www.amazon.com/Stickers-Unhappy-Behavior-Sticker-Teachers/dp/B07TJ88R4J/ref=sr_1_182

   Collection Date
   Tue, 25 Apr 2023 09:09:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e/CG+qgQGGs6zeGoHDF+3reGxxVb50YOZ7PBqIjjFirHz4nbVt+cXH5oDdcmHSDJQ0pGUEuJYTRHfHaH3QEQG8gqTg7K0bFeaF4Unu9xgwwVTeBFFs/ESsA7zktNpEkG6WphCBzDXPUuhBTDm/WQ4b603S3p+NxMo2tgfZoRHLw=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Unhappy-Behavior-Sticker-Teachers[fs]dp[fs]B07TJ88R4J[fs]ref=sr_1_182]]_Tue,-25-Apr-2023-09-09-27-GMT.pdf

   Hash (SHA256)
   f7c4fea4180d833ae1eb35e4d42d7ef63b09d4be5ff02955d471e0ff79b71e76

   Signature (PKCS#1v1.5)
n455Oaxu7Ln0Jpojn6gxEKDtjZZpnQYW7KkB3uou+I64EOuFtHyDq/6ggo+vdYImWv9e7zyGm++aRMdWUH/ygxctOUgEWAgOZ4ByD8NjA0NqMD05RS0VwpX6QZrK2UByjPsT37mP2g5uV4SkL+OGa8eGjkOSsV6NaKWW/+Vt0a8=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 04:54:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EtbgyPusse9czXhhTvOu3KFNvuctzaqzggmHQZv40mqzTBn4g9+Z5xEF83UcZRONOwv59XXfYpZAN58wrQxqzYWN8Z34UwkRuqAfdHLO34kFdNwsrEh51tR2+kcZg7P0sjjsoACHcEgt7X+vISf8kbn6kWcEI+AHeLQMjVCbJEKZLa9GHgIDx4QfswUzVdmNKzQ/
   jkdseH1J7Wy2tdl8cgacMkVnuk4qeKJguEbeptdzz3n1+GjuTxNDNE6vdohjbZLYOWcafM5orbYRmq9+8JFHkfJKkU5q4xDxeXFiJEcfpxVtdhF0csgcheVBgn0gl/nU7YjSj8S4a/eq3/AHuQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-04-54-33-GMT.mhtml

   Hash (SHA256)
   eb5c2f444259ec5cd89889971cfe7188abc7e6d12c1640eb4a76d48e44f5a2ab

   Signature (PKCS#1v1.5)
dd/x6c9BKo1XGMYF4zWaurML4Lqy1PeuPFQjEHCxERbUm9BkrQd2AVb6/sMwt1+G/cmaWii/ZjanIs6JCc897RRa5X
+v8ECKMliHEjp7T0BbDsYRP2iegbUn27jqdZ40IYFqOWWBDg3MhKzcNCs57B7sO0iL0wyFVpkqTOiOL39vtv2a306RWVkjRRBfME3pr5PUlbuHcVIv55jnVgcIaZ5jloryEsCj7rmZmqu/mTzN9xImf6Ptg/z6RXiAyT03D24XFnv4PC5Yh
+DKNoZ35bJTRcJKLYnbKMuO2oqmlr44ecZN8H5NJaPAd6ZvjYX5lecqEfO5IC177oWQ4miTHQ==
                                                                                   Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com : 1.5 inch Yellow Happy Smiley Face Stickers and Unhappy Red Sad Labels | Round Behavior Sticker Circle Teacher Labels, Great for Teachers, Parents, Arts, Crafts, Reward Charts - Pack of 504 : Office Products

   URL
   https://www.amazon.com/Stickers-Unhappy-Behavior-Sticker-Teachers/dp/B07TJ88R4J/ref=sr_1_182

   Collection Date
   Tue, 25 Apr 2023 09:09:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   e/CG+qgQGGs6zeGoHDF+3reGxxVb50YOZ7PBqIjjFirHz4nbVt+cXH5oDdcmHSDJQ0pGUEuJYTRHfHaH3QEQG8gqTg7K0bFeaF4Unu9xgwwVTeBFFs/ESsA7zktNpEkG6WphCBzDXPUuhBTDm/WQ4b603S3p+NxMo2tgfZoRHLw=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Unhappy-Behavior-Sticker-Teachers[fs]dp[fs]B07TJ88R4J[fs]ref=sr_1_182]]_Tue,-25-Apr-2023-09-09-27-GMT.pdf

   Hash (SHA256)
   f7c4fea4180d833ae1eb35e4d42d7ef63b09d4be5ff02955d471e0ff79b71e76

   Signature (PKCS#1v1.5)
n455Oaxu7Ln0Jpojn6gxEKDtjZZpnQYW7KkB3uou+I64EOuFtHyDq/6ggo+vdYImWv9e7zyGm++aRMdWUH/ygxctOUgEWAgOZ4ByD8NjA0NqMD05RS0VwpX6QZrK2UByjPsT37mP2g5uV4SkL+OGa8eGjkOSsV6NaKWW/+Vt0a8=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 04:54:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EtbgyPusse9czXhhTvOu3KFNvuctzaqzggmHQZv40mqzTBn4g9+Z5xEF83UcZRONOwv59XXfYpZAN58wrQxqzYWN8Z34UwkRuqAfdHLO34kFdNwsrEh51tR2+kcZg7P0sjjsoACHcEgt7X+vISf8kbn6kWcEI+AHeLQMjVCbJEKZLa9GHgIDx4QfswUzVdmNKzQ/
   jkdseH1J7Wy2tdl8cgacMkVnuk4qeKJguEbeptdzz3n1+GjuTxNDNE6vdohjbZLYOWcafM5orbYRmq9+8JFHkfJKkU5q4xDxeXFiJEcfpxVtdhF0csgcheVBgn0gl/nU7YjSj8S4a/eq3/AHuQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-04-54-33-GMT.mhtml

   Hash (SHA256)
   eb5c2f444259ec5cd89889971cfe7188abc7e6d12c1640eb4a76d48e44f5a2ab

   Signature (PKCS#1v1.5)
dd/x6c9BKo1XGMYF4zWaurML4Lqy1PeuPFQjEHCxERbUm9BkrQd2AVb6/sMwt1+G/cmaWii/ZjanIs6JCc897RRa5X
+v8ECKMliHEjp7T0BbDsYRP2iegbUn27jqdZ40IYFqOWWBDg3MhKzcNCs57B7sO0iL0wyFVpkqTOiOL39vtv2a306RWVkjRRBfME3pr5PUlbuHcVIv55jnVgcIaZ5jloryEsCj7rmZmqu/mTzN9xImf6Ptg/z6RXiAyT03D24XFnv4PC5Yh
+DKNoZ35bJTRcJKLYnbKMuO2oqmlr44ecZN8H5NJaPAd6ZvjYX5lecqEfO5IC177oWQ4miTHQ==
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | smiley Face Slippers With Exquisite packaging bag Keep warm Couples Slides Home Slippers Holiday Gift | Slippers

   URL
   https://www.amazon.com/Slippers-Exquisite-packaging-Couples-Holiday/dp/B0BFWDS7W8/ref=sr_1_249

   Collection Date
   Fri, 21 Apr 2023 05:02:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ovQl42RDdCrT2fHRbWuj4mbq3CPcu365G/S0G9iR1DlOST3jgnZHtLr2KhGAJgrEHOAGZd6nKcSrruttvJ1YYzPFGiit6L6UChHwyuHOGFi7SVHHX7hZgnUzFC86QqfvEmOSzZ/k+gU8CLzlPGHJGmHqAzedvDSDOPibmaIo4dk=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Slippers-Exquisite-packaging-Couples-Holiday[fs]dp[fs]B0BFWDS7W8[fs]ref=sr_1_249]]_Fri,-21-Apr-2023-05-02-11-GMT.pdf

   Hash (SHA256)
   8379ebad623f4049c2a3e7bc331fdc6f9f3feee80a87225bf95f1437fdc84f40

   Signature (PKCS#1v1.5)
TbVC4XF3WW/ZiKYZkoXCyh7uk7hsHvp4qOVeyqG1uu1kOmWVUJR1dSwvTygfbGG5WL0kmM6h5YXY3YHEEJ3qXirFCUxLLwFm0T+XEUmFVdYwRsXfEx+prs1spp/9DWc6M1Tmz9gz0vQYH2QLXOx3VRncsvWJz34pAItBTErUtYk=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 07:52:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aKwGqMSdW2eNMsELTv/sQdMdePK6Gb8XLsduF0jEwceP94Hg4rwGao5yUFIpZtRpSIWVx7EqoB0mg0mDDNGE2MiD6Whye9OLu7vvzigHoRAAOPmFEoEisof7fgWhMopGGvopnhENZzJioqNaonQBsWcf99FF7N7P9g2RoEhuP7iKkxLZc8gVopvspbT0XkFAhiMw1gXzY+GPMRO
   +hYRJFNjg6/8AzfwI16pF15hn9CtTtJJBBfYvt4diuTKkwmgFv7ouEvKYh7tJesQpaRY+jYWtsjmum8pHLiAkg870Pqt7mcDJhZcYS7Y3zByR5yqMD80XpR1783jY1yGqsKRCfw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-07-52-47-GMT.mhtml

   Hash (SHA256)
   697e06b5dbd05a40c0455f92822277781494b01b4eb1e18bba5be5ab80986cc0

   Signature (PKCS#1v1.5)
Z7/CNdFscLfdXo8Jif3QLRRCTwXbxx7MA0U2fQXGMouYqk30MPA5w5qAq7SpMy4tSYYo8jTllUZ6RthDuncBxLht2tXrWxN8GIomFPUHZNGLLj+G37VabY4ijkEuV2QKhAtNeyzgR698CaTtiRILksQMiQv7HZ85bjoRL0FCax98+wDUjT52wAPYyMn442OFDHv8iV5LLFuJwbatBgP6qb1Ws0tjaee/
tWBdel+GsJpFIdbDUdaOI4jB1iLUYd/EcdZTQ6X5vED6VwO8iQVQ7nilNQ9WPWJ8uTK0i8+l1INVOIgdncFQlTDkljx9f8AgfL2Fcbx3U8uGI90Af1yzlA==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: smileth Happy Face Smiley Face Patch Round Size 3" Embroidered Iron On Sew On Emblem Black&White Decor Patch.

   URL
   https://www.amazon.com/smileth-Smiley-Embroidered-Emblem-Patch/dp/B096P9FW11/ref=sr_1_71

   Collection Date
   Wed, 26 Apr 2023 07:33:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hIYn+f+YJxGXOKBoSHTsVloirEMVj5On7Eg6R4Tl8N/q0MeyUx314w3xWACabY+oz5dvCf/IbQ3BSrPxL8yvon4IbN4ynLepUZDjkCecpiEQlagCQYXFtHPGF82t4OUoNkHDf4j8je3Wl+Pdlk8WuF6EGe5EkabHwv6ZXATi5sQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]smileth-Smiley-Embroidered-Emblem-Patch[fs]dp[fs]B096P9FW11[fs]ref=sr_1_71]]_Wed,-26-Apr-2023-07-33-19-GMT.pdf

   Hash (SHA256)
   97af632d76797d154d68054d3a0325c8ccd2e4eb5339c8beda647d23e8989a87

   Signature (PKCS#1v1.5)
jBZLdWnGcd//bAbl/eDCcAer9e+kIEhvKFa8RNz2o1XJfw61txIioMVfWoHB+J9gs8s1hblGHOol2DxIVSxrr4KNWItEKVJUKUUCVifS8ZzlcdsRwWjtsJD2lEH2hyk6ZIRJlpkLn0EWs6wsgCil1bMdNfXIX+k6HWyR1fMyUKk=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 07:48:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PwKEDhgIDrggTDtGSfXWo/HD5KoopibsuezGMwpwl4pETNYSM6t4GpD5asO30vKsJkj0U8euQOiR21RVZgapjePiZe0/HWPoFzHP/br8NUSYOMg3ZCkuRKP3Jv5yI5U7Hv7rAWTaxJLz4KjZha0M5XeUHt/4HokGDxufGetOiB8cc+yNbTyB5pvY11hnX2kwjZBd83mFr6EDt53RWfKrz/
   RWRxryIhWqxbM7RSUM3AeTZNzLNq3oejhDsgEY0jny8kc9oG8V2FqM6lJoY5ZUrYNJHpjOa+vITUsHI1kQeReDyxNw190Ko2n2/HPUVltXfNnmiBWpE5yMqo4nkjxMiA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-07-48-28-GMT.mhtml

   Hash (SHA256)
   23924da93fba7ffbad85b5a863a91369417e2f211cdc2c836929609d2415430b

   Signature (PKCS#1v1.5)
EV1xqm3RFlP97JL1gaHWKsCaWihrUx+HmlKKyGotCaQk402/CPyxekgsJ3OOs+XiLCsQ3erCfegVLKAufxcnKzeXdkbyk1dcMyFXpdIuMbl+5MP05b8N8AqJm+jLZ95D3D8b5x5CwXbfoO1ETkaxkDOtnmqysk7RfKHIozn8GFinN3fxa0ItaI2zQ42S+BRYPcP6fe5lpQ
+XjFpp1VCo4IutZXgsVYfklf3sDfOjdnW4UeFDZ9kg6S5vz/N5b8zdrQ41AY0pUBOeyNo6iJZZVo5Bp4afnJelKjAkjP454igyNXqwFElDTlBOEz8J0xpTFMheYFE8BQzDn3KIdHNsyg==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | Smile Face Slippers for Women and Men, Retro Comfy Warm Soft Fuzzy Plush Slip-On House Shoes Funny Cute Happy Smile Home Winter Warmies Pillow Cloud Memory Foam Fluffy Slipper for Indoor & Outdoor | Shoes

   URL
   https://www.amazon.com/Slippers-Winter-Warmies-Slipper-Outdoor/dp/B09J21Q3QW/ref=sr_1_183

   Collection Date
   Tue, 09 May 2023 06:01:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Defv75cyiAVJlygzUPkqWp0rEBlWwuCfUy2hXaZaqhHcz5v/zvozYjFR0kCGOcYGZUbU6tkTOgZhRUo1ZWDxEDA/gwofLcfrnFDSoNAwRruqravGzyHcKxvfY0i1QrS0UwE6JD/J+fb/cpQ+vdXw/sJyPOHRp7UQVEkdF77u7yg=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Slippers-Winter-Warmies-Slipper-Outdoor[fs]dp[fs]B09J21Q3QW[fs]ref=sr_1_183]]_Tue,-09-May-2023-06-01-36-GMT.pdf

   Hash (SHA256)
   aa7185141d9594a9557674a9f4bfc6fdc16f62bc9f16e84bf9fdd25de86ea2a6

   Signature (PKCS#1v1.5)
QdTScvMyGdjpqTiEhmEI5PV98fH2iKoIBWfKlCtHF8LYhTK4vGw1iNk9Q4m9PEPsSaIb/a59ggE+DXOJ0eKVxKbvPCntSVrkeK1g8HnOJxAJO68xEmjEOGrKVqFAr/U7hU6YX7hyddt7Gy8CIl3fmYBFyQUhR0cBHMniCNadkv0=
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 20 of 36



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                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 13:40:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WJLM475Z2X+nm903o9lQL/Evb3lI4+K5kRFGFUEQDTEEq9yXMA8oKQVOTvU9dF0TrAjBahx7dCJj2TMwc3HHQOC+omis/wELLK4H//qe4CugJ5zQzkpC3DVLamS5trLdKKrPQwqm4igitOZfi6KifqNgQa/MvALuu1hOm49daV4ZxcXrs+ypAX2NCuQBXzA3okDlTb
   +fPKc7TuHwpERboTOuhokb29LzvVLlK7jNApRw6cLM8jMLCagOi6eni0ajGhzEVPFlYyYxuxaRySVc/JHLo+uFsrG891bTsXS0Q1EX7T2CxLQT9u9u+e6rkOZ6eV4FbVOO7tckdchP2b0YVg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-13-40-32-GMT.mhtml

   Hash (SHA256)
   44c82951cbd5e21ce899a3d6e29c2074f779d0b4cec82ad293f94d17c6e72773

   Signature (PKCS#1v1.5)
CBm0YkwCrNFJ5nWabs1OF47OYLrVC/eRdWQShBBwkh08mWd2c8zZCfdfYXbT3qMS5EOIpxlwms8kHt3KzCHwq+Ste3WeH3H4OgiBqx+xPIpNuYmM6O4p09lm23CQHDa8Tvmu6A3o166dIEeH/DV4hi/
bmAxrRJ0nNRemVAwGtsPrAGvV7nCt1kruFADp1DEyCluD8dv27YoV5ih6iOmOy9mplMPbIIuOG/YYwvRA/08yW90cUrcE2+eK0kvsM/do+VGAhJUuqc18Q5QVpe9ZKgfZ1lh9wIYrBFSPiiSGjkMegbVE7YB5avyc3hixLeCQB9AnZQAPrgy6P47FT4If0g==
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | JACJZAWA Smiley Face Slippers for Women, Restro Fluffy Smiley Slippers Soft Plush Non-Slip Happy Face Slippers with Smiley Socks (White-purple, numeric_9) | Shoes

   URL
   https://www.amazon.com/JACJZAWA-Slippers-Non-Slip-White-purple-numeric_9/dp/B0BZ8Y9HX8/ref=sr_1_52_sspa

   Collection Date
   Fri, 21 Apr 2023 09:58:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NAKcLpzKwv91CDVKGJP+23mroxaKUaVlOCsRz7cDYfBLRLU2UCqnsMZLPrJIKS8b6MGdeJzCkTzqX5cyCoNtPQ+agdp6QokXIR9fL9LfBm2buaB50JODWt4SWaW1R1oJEbhIG6puMijKKf+QG6imZZNqqxhIP/fNie/j5AiIxJE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JACJZAWA-Slippers-Non-Slip-White-purple-numeric_9[fs]dp[fs]B0BZ8Y9HX8[fs]ref=sr_1_52_sspa]]_Fri,-21-Apr-2023-09-58-20-GMT.pdf

   Hash (SHA256)
   7126d804983bb22c23c87285e72a78824f4c894a51e7dde1e941f4d52fad3849

   Signature (PKCS#1v1.5)
mvmU/FKHy/Gsr+u84sDh3FVALSTo97FubQ1W+skWtGxho3zbNP/OGF0NHwtvP0UU4/TPxhnW/GbvLwlkZQz7AaQgGjRJn+x8sM4tP+vTHrDSLQX7xJrtKnEVBNAH+hjzmXM7E6Mj6vk7yTgIfia6T1+h1/kh+Tjex3bKOergqWg=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 06:14:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pt0FhsKK3nWIX0Uvh6BLu9Adp1M38r6mCOrStfHz2NlomSZyoiyw4pnst5EhhEkjk0xS6rYGTe3CuFHRzUi2EPFLv87n/OyRyVi14FYzTjzzlqSL53ggq7/VGtmsuBi7k
   +8ZyxWiLrgIasERQ3YpDa5AoV5u4mrrMlYIdommD77dAshScxM2gDMA5jOxDhuym44ItfRK3jLZZBhaYyek1un3safj6WPeyn9g9A2Kr58iH+7A7RjoFLZaCh3/9ciW5qoVAiu9q3SeY1eh3F49i/TaGjvWXS7MXT8Fe5NmzJFVYvhjdpitdp1j8Zq3Zmzv/dKr1QDPQBZ8DAPgE8Sf1g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-06-14-54-GMT.mhtml

   Hash (SHA256)
   17eea12e1ca01f18fafceb9af5eb8f20b898f5f862225a6481051960bb304933

   Signature (PKCS#1v1.5)
BlEjl8x5qi1CumEI5+dAbMlnUSPu6+XuszrKUIPAy0tMZTCLG8fazw96TAn3l+nznzQhC9VyQeylWSdfGyQuG0RFVVAxwwUAuDySI1yyx5prOQIgklbdXulugxp0BNkxA/d3sK7edzmiLLmVIYVq8ZP3/g6skNP64i2BOO1FiaftGSehA04sGZXEFq0Fq2vwwBG6W5cHe/
IfLbBJvXWpcXiJOub4dATluraCbpmAs7axsOBbIMGWEg/7X1wDsxrG2gdh7JR5l6CYWeo/F3/V/9qCK2G72BPa97CQNs9xs+0RK/pdfLUTTahpFs3gJ4TUtKPBvu0FUcvC1evw5rySRA==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Funny Decals For Toilet 2 PCS Black Smiley Face Smile Wall Stickers PVC Cute Wall Stickers Vinyl Wallpaper 18x22cm DIY Removable Murals For House Decoration Bathroom Baby Living Rooms Bedroom Decals : Tools & Home Improvement

   URL
   https://www.amazon.com/cool-store-Wallpaper-Removable-Decoration/dp/B07F8K8MK3/ref=sr_1_46

   Collection Date
   Tue, 25 Apr 2023 05:54:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XK9npyGjz7VjrFP9LX6qOj/i/5BAOBt0TtY114kHo+WEMiJMTnYRq/4rmAU+yfgeJrNFnvWSxT4ZetKPsDnXtCvKw1ce8auaCPYPgrtavCjy1hiWQFuklSL3wLj97yE2u1OrFmMbq/Z6IkZA6krmDRgQbhIZ+39mZIzbXPXUUZk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]cool-store-Wallpaper-Removable-Decoration[fs]dp[fs]B07F8K8MK3[fs]ref=sr_1_46]]_Tue,-25-Apr-2023-05-54-09-GMT.pdf

   Hash (SHA256)
   4d092e5c070056cdb4a7a2dc698ad73b89dae830d4ce3229dbf96b0c3fd65bb0

   Signature (PKCS#1v1.5)
isMaCguwXtKmfCr/PIb3KiUt22CB56RYnQIiUEJLuTJmhrFh6GemQnc7c7DhnnVTR12c2hX0DiLsIw0mstpC33J7aEx9jsHFIdpR+6ykv+2qEf+fNEjPUfWUVKxASLXeayUBtbfGLjSifLni0xWrfqcB2yQISovqrj6SghN09Hg=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 12:10:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YGjERFMH5wpbNHnuDqC0AanWHf1C13ZmT26OAUS5SeRkUsWQKZ6alvk3HxmXFTJZ6/Ow7OT9c+iJWLkGVSKoUd+3mtNub0d25uCPy4S8VDqV/XlNJ0FBk1XCmTcYtkuD/E34PgFU4LhE/+JnQXn9cC98Nt8bW//c+uDhcv9c+GY0p8LcG73Cnxxr4LsOGpF7L1Wk1+32/
   O5k3CCeuNrq65TprYIpyn7S/skTHLp3qo7kGTlmr7WTXTnET8aA5AgpvI81MVmSWMZcsJW62pIGl/bRR8EsinJRwkwNly/K2osJ/m6H9j3DJ5FFVuMxahy0/De/n9J2SrXpPLGv/T/J/A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-12-10-28-GMT.mhtml

   Hash (SHA256)
   273a0308cdb092683ad1e49c8ff75e00b70b2bd7aa986b11f52cde1644e60e5d

   Signature (PKCS#1v1.5)
QrYoQXAgy0NFT0eQdEMy4n4NnidUpfy+V9sYdxaPYQvM03T7YxBeLJ5upwcHtGIOKOaWSWZQweY/34KDZnZz2zmhZr8vUd9dMnrz7qmy1ilvqlVT3BlLgBBLyAcOhiYYYIzvm7sJcy/4ZyMQhkcC1ewb3pDPgr3gUlV0U14aEIco8pbibWtvWGZIQLnD3lgrCVoIECcACoOnZz8a2w2eN/
lJRr8DSQFvRXsXKJ7YahnP+zkY5XDBJ+/IsfoKcJc/8sDqXbaX53yXr3+A03+Z4ChUGxM/EhugXBAqpb354ivb4ADRm06HHR0Qh0tLKNrY8XgfSUhnQNLQs4/AUBwFHw==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Women's Crewneck Smiley Face Graphic Sweatshirt Casual Oversize Long Sleeve Solid Loose Pullover Jacket Tops at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Crewneck-Graphic-Sweatshirt-Oversize-Pullover/dp/B0B55SCFBM/ref=sr_1_105

   Collection Date
   Wed, 26 Apr 2023 06:17:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IYw1j/gxrAJ2f+iQdKdU08R4GX0v1HDUt6pXKkT4YdMBJ3bsOQgGBFUf7EPVl0ylA5J/JvqWsa88DkwVDIE4vWZnLoZU9zAqCKhtvFjwp2XKBCGtr+FAQ7ajbkvVjXNjr7h66ViwbjtoCTyBp4Ge4LfMUQbhyYhMxPOwWroabS8=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Crewneck-Graphic-Sweatshirt-Oversize-Pullover[fs]dp[fs]B0B55SCFBM[fs]ref=sr_1_105]]_Wed,-26-Apr-2023-06-17-53-GMT.pdf

   Hash (SHA256)
   40b371b913c4910d821a8eb5e3b1a1b24e2e839990069ddfd66bd82effbf9d18

   Signature (PKCS#1v1.5)
oqa+cgYkf2/OOfO4SmEMsjohlosmSatjF9BJKekmu+Hc4Ymz4TLBnTuUrkFHLfL+qP2rS2oCtFyKfOCV9pGPZmYwu8+xrGPBX/320ZhGSjdcvhqYt7kEe5plyCqTz7XOKu7J5ZXu79foJxk9DLsyY+cYZvweiwwtA3DITMLKhI8=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 11:52:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KxGBgmhqzoy/fdE+Qq+JCrYCF3h07e+xeSZmNA1h7UfwUREH8xn/zhJcXZl14l71sDSGFmTYTLuynRM3RpzVbkFP4J9n5Y/m6bVIoV0EhQMeRFqrLxu/kF
   +O1C3nCKUlA3IUk9XK96a0vuuZwyA8H971HAdkQZdikLYtrKElLDx9llnzKUddfRFBIZ1imKPJ6EHsUnFQ1C4vbeVp5NUhia0oRC6l7iaMwFKOylIrkJQ69EMEJZUppjHYsrWIDT5gY
   +sFoMAuZMEHUr33Cr2acsvkbqlxRTzwgos2VtU06dJVpXuOnrIcX6xuidIwd8H4VcuizEPH3JaaBrAP4cQhHg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-11-52-14-GMT.mhtml

   Hash (SHA256)
   ade1747be3ddd96906c254bcb2e79ccfa5a2d76395365749586988e69f259cca

   Signature (PKCS#1v1.5)
XpoWGAbUHR6XyadaD8ewcMlQCvEdR3sLYH8ZVPHdONXhetqsK0lCIaz2We92b8fcOHU+SpYxVZSAneXlIRtvVVe7JpULnhqsyyl6dEiKrmo/VUdVYq0klczMVvDCAGRENxLl1WqGAjvtnWiaqp5C/FK3PUziI9PlfKDuiyZ4wDylOH4svHpwW1YqL9fPibW4dbZl0X9CB/
lOBXkMtPU5NGSl8hgaCK1hojcMEZBJeYVpSTHF65TjkxnWI0WcCk+STmp6Sh46v81/N2S0akAiACvqUPuhw9bBnGvTEAkhjCAfUzvRC1DCmMpSylFRocR5ioMPBqxMyPkS6GcezU7IHw==
                                                                                  Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com : Cute Retractable Badge Reel, Xoqo Badge Reel Clip for Nurse, Lightweight ID Name Badge Holder with Alligator Clip (Smiley Flowers) : Office Products

   URL
   https://www.amazon.com/Retractable-Artscope-Lightweight-Alligator-Flowers/dp/B08F3DFK1Z/ref=sr_1_7

   Collection Date
   Wed, 26 Apr 2023 08:10:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HWlSEBAH/JfTaguvTZKr8Jd24tMpRyxNjvPQQOq/2xj4gtuA2bKzlZH9pFAOcFjLWgtiBsqzS8OEeuB7cfiP1HhnzjQxMAoVG8uFOmmVzUw7CpmEbC7Wc2kK1oZxoyWzkgoi4yuDoyxvj/mz13uV7vrnKw8EE3eGmWhmLIpW+yo=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Retractable-Artscope-Lightweight-Alligator-Flowers[fs]dp[fs]B08F3DFK1Z[fs]ref=sr_1_7]]_Wed,-26-Apr-2023-08-10-11-GMT.pdf

   Hash (SHA256)
   33385f886233fbbb4d46f3786e28e2a43862206d7d7160b645f4f62d13b69f20

   Signature (PKCS#1v1.5)
X1shWwUNyJuDX87f558LdjCDTRKhkPGKknYxP/bjBOY2bHiPpb3ec7kY70he7cazGkkcK43t0IDbsOIH8z3OdMNBD3uis2uMtybTdV/HAjyayx6plMCgyrQB5OE6KsE2M/EG2h8DVrSCIM6PlyCHPCkFXZ4v7nIM62jq/kVvIpI=
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 28 of 36



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 07:11:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JM1GpvosCz1ar81bTGg1HKDiiAoyt4wXwmk4IePgik39IfhreQQpJ0kLiKiyhU4KdxsATyplsL0WxTTeRJOl6XWleZ/JGYuMu0moPM6pfCPSzWptLqdKqWAJ7JmEBse6h7SYQr0oRfuKWM0O/boW1Tl54dVuiobuH9QKX5uyFgBk+taqwwVDQijnPbLNnkJD4sTF5a2BsWyVEayqIWai88Yf5ZKB/
   DYgJcA/ITE21q5N/ahARaObKqZMqs0PK9NYVX5vrKGrEV+niq57rj2EfsvZ7cYgwpDQPCouSuh/ZWaEULCZemhb7Z52foubb7F6OOglLkkYC5tnca/qHIyVyA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-07-11-03-GMT.mhtml

   Hash (SHA256)
   0f1d440aaeb49641760c5bfae516c74a2949d7895b4936d2eb055176f48787ba

   Signature (PKCS#1v1.5)
RKZlBQ8TBZMYoIB1h/gcPCPRYz+sydwGKsHgk9plyCOjPik33YYQSHa2utJtUJbIpaUyAxZlrJ5mEH8vsFU4ci/vdJZxIbH32YtQEykEwtYxUx6fBDnUGGKkqwcArrjGHb/aE+c2+mPjS0YValwSN/3oaM1Dk/gC3SR+4b2tbigir9RF0GtsidVxiPclwQ4nxwZ8/GYnKr/
mGQWCzKsJT0vPPh7b5Il2D2mFO1OS0bnXxEXJh7h6ZisL4fweowTTc5w7ZKF1kKmoTAFjZYkH1egH5pVDTZApf4rvjEK9OlMkuJdYertfwaGbt7mjqwo7S9asZQU21+Rz3XlVB2Ok6g==
                                                                               Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 400PCS DIY Smiley Face Beads for Girls Mixed Colorful Fruit Animal Flower Shape Polymer Clay Beads Happy Face Cute Beads for Jewelry Making Bracelet Earring Necklace Craft Making Supplies

   URL
   https://www.amazon.com/dp/B09BVQP7YZ

   Collection Date
   Thu, 15 Jun 2023 09:21:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iQT0fDSHCiLT1b2pWfAOlj8xRS4M3TBJQ7fH2SWcCkhdf+aQtm5GV2G5bjUiF3N1u1gl1YDa2D1E2Mso7VKImN87hj4vIw8y2Vywm6vXFGk2u8Upph/lemgsUiLyS2pl/tI+D62Im75u2jyckILUzsY3O6NNo+8w6oV48YoXenB0/9570t1DgAbjB6Z/+dr
   +FuQglP2G3vcinHwJ7YZZCIGQwXhwFe6pZLACK159r4/TmLymrxiDvvo6ZkKL3/Ur2ODV7qCHJZbHb5iUJprApp/foj5AvlGPo817Al2JD3/h+fgcBxhXE+/FcTK8e49bPGGHnUxya62LIYPKZWnVcA==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09BVQP7YZ]]_Thu,-15-Jun-2023-09-21-59-GMT.mhtml

   Hash (SHA256)
   a2f7968df4210beebde5e1a1c532ec8313659ab971e58ecfd91f2d19e065fbaa

   Signature (PKCS#1v1.5)
UA09ikJ7tX9hSb+kw1DV8KjuveeFXybhbBr3q2pJdGifAXLdieii8p8t+IG32lY+5rph1atO/fxPuLJkdK59Z8MBDdPFq+LOLVjU9jjIRhosXec+IdLkJfhkTV3Fe4W/N/fU/1M4VIve/zA6ouVcSHBm/PelZdJ5hsFcDMT7gACz0/
OFoiA2MC9Xv3nIPYEsqLLAOgxBQ46TSizD4jf0gmYQ8+AKtNACNVP9EvA91MU0Kr5EENVtuFS23G1bWAUD1Wd7FpGa9kSwFZO/3UrZNhGs1oL0t2FWLcQlEalaXmYJdZMJSeYFZcd+5Y6qAF42s9lsa1FglzXSprKRUUfLyQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:25:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eXNJL0NvW5VWqCzUe6LdWr7n4g8IFcqv94ydZm4+hgyyCZcW8NSQhqFWuaA87ZoizvuFv4bRCIQ3Hs/dmCqXY5O0rzKNxPCePzWRhCcgixlbhvJQkyhES4wlH1BQBJQ6NKXNwanqVccYCdhHKpn0jGkdiOJEmHo5Wf0k/Yn78s/Ql6HOUCOzAKtoEnNUj5AXuJsyndk+8AKM7VoHD
   +V0YEqNr+WjnbRJJnynhGYV2eeBupRjDSO/QZ0yk0Cy2z1U5J5Ty7BpiK1j3nX+9b2sVY5ZCOuQgelDqEV20xt3JRdXL8bIGxO+icfsqTZJybHuyg2XEivi2MDlAV9U4LM3Ww==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-25-18-GMT.mhtml

   Hash (SHA256)
   86dda82276991bc518d3f332d889620cef93042dba916b5fc610987ff44c3001

   Signature (PKCS#1v1.5)
HVw+AcgtJ1IRIkXsf789Jbm5aQ8KUoFnq1XF53yQgxkLrXdveKcd3nOOyIe7YMvTc/emH+Ex4YDldWgCJgjmfmmvZZdBecan7o8rPlMFUMwQioERnDFlfcITdk0DYcsIUP6Bc83o7GJj+jIXURC/+iG4eilQadW+IRGsSFR/H3zSLgIA4VycJ1XsW/
i5jiOqmEFbXFzGnlwTzxjDKJEecGhfWtvZSsgI7X6CZeEL7rnoqCgH5L/ZE7p9C+ZAFgni6pFP5iKEMcYTgpWvQaL+sBrUyi767VCL6c5sv5zqQIuXkQekqpnR4Ogwjzp6VghVlFzrDr9rjc1nFiRWtEEyVw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 31 of 36



                                                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: TREAVIVLY Unisex Gold Silver Stainless Steel Ring, Fashion Titanium Smiley Face Ring, Cute Stackable Signet Ring, Cool Aesthetic Ring, Chunky Stacking Ring, Trendy Emo Smile Face Ring For Men and Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/TREAVIVLY-Stainless-Titanium-Stackable-Aesthetic/dp/B095VXB8T6/ref=sr_1_268_sspa

   Collection Date
   Thu, 20 Apr 2023 05:36:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rKbkiJ6K5MJlMmKYU7lGI5RvXYB8LCAp8y4304Uiy/3DDmW1VZkcjZ7X9gsf+eHtpJOkkuXW3sf1ulayz17BL9+SGkimJErjt82GmkKdwzYT+icxeoBzf/JkDPdgODiTs8h/VqtvlR1Tj+zD8o/R6GTCCJMA9TwaMdBK3XLP8dc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TREAVIVLY-Stainless-Titanium-Stackable-Aesthetic[fs]dp[fs]B095VXB8T6[fs]ref=sr_1_268_sspa]]_Thu,-20-Apr-2023-05-36-42-GMT.pdf

   Hash (SHA256)
   5f68cf9042b7c74f72c69364ce0bc1ada4a8a2bc635b3efedc308423f8ae13cd

   Signature (PKCS#1v1.5)
fPQmyga3fNzsg/MleFKdqIfSVRn4Kq8CAfPN7mqey4Jz5cxLNIXPodXVSq7Ew1ehgI6ajRj3cpIgRirHguZ+fTMjPDBJZXSQe9VKksFTPnV31wQ69z4GHlgTgUsFYexegCubHI54Ef3JM4Yx1D3e0Cor+a9k2JsXZ8oEWAreGuE=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 32 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 01:26:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   itDMfELUdYuBLJMcIR7iAS3fHvLTrLEKrMm9ww+FP/eUXkjycV3Mx/WMZS0Q0SKAQp6oxoQvKv1NtSNDJG6uvS+8GiQj4MdJk81aT7lNu+Z+WZ+BgMPOLXqV7LSsE4I1u3j9kEhrpDShZ38NXUUKot5vnfnkk3YRvVxaDizaUiGzW4IeeVkduHvUUPof5XZMOee5cGA7JqF3sgDGdP0XOWD
   +roya+8XjnE8yLd9DSnZUGjuy2dA/+6kmz+YBhAXFZ5IJpFtDe+iiLCZeztv3qwZWlt8lmkG2kP8/CxUqLJiafEdFsDv3dMU88vObZgaXy4B3Is+9yMQpAkAUDEd3HQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-01-26-20-GMT.mhtml

   Hash (SHA256)
   62d9bc740bab354ee2cd10112b6bef808a2830c67320332274a1f2f88420510d

   Signature (PKCS#1v1.5)
VGn6w0q1DM5br+gXSZoho6u182iAEQAdM0LaNmZ9pVRKpIJLhZmJ8iS99KpPPq0yUNihC+oF7joYe/lw4PcwhIgmdEHUJ0kqyxpL9sPSlbFHzTRIhqbgcSsMkyV21K+7qlf61FmoeA/tTJcdmHR+9kzh2u6ukbuVN9xCvrHrKtsKIBYUIshM0atuskhFGNAzua+CPflvHvZPFrIHu9Fny+/
D4Mtp77s4mYoqtpF/6JVeKfiYfCapyRzSq4pQR0DNm2dY2s01FAN0S1+DG8VPW0FRI8qV5jWTKpKDT5NuWPAVJ9AM5jbyFM0dYN7/wfV+p3321kMWGNmM7jF6Vgur3g==
                                                                              Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 33 of 36



                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   SONMONY Smiley Face Trucker Hat Washed Dad Hat for Men Women Cute Baseball Caps Unstructured Smile Embroidered Hat White at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/dp/B09ZPHCQ3H

   Collection Date
   Fri, 05 May 2023 10:08:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QW8kiVDOhn7gYYO/SsXin2BvHU1KYSOoiowgRCnWudDxBnGV4O0lYTNsST+4y6SD4DfpyNw5ZeRTvenpdnLzIyogiP13Suqqmh3v7hjg21X8qpd6scqigPX9Ijem5aUVhPsEgsOZDlwpXtGvxev3zVOoOFJRzaVzJit4fE9a
   +DT5ZjhSGG5lpiywncvSeEquMWeCEa5vdkmCAo26TZdW7K4YYzw1HQSh3hLLQoSJczdsCtVhzVcab3DbLnD+n+V2XFlV9micDN5R2VLbCkK4oaxg9yksmEQW1LT9Dnaw7pn69PC/bXuJ+ELm4nHiflNN5RJC7Qo/leGUUbt8nBTP9w==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09ZPHCQ3H]]_Fri,-05-May-2023-10-08-24-GMT.mhtml

   Hash (SHA256)
   5f02ea00e31b6a8aceb593f018c715b0ea36eeee2d67fd4f7681b85bb75ce36e

   Signature (PKCS#1v1.5)
afQYQyZcS3CBj21iVI8DIeOcqLEaXSHKNXhtdrjaLwlWTEv1J93/bAFogXJjfhgfEqNpW5Ou+LAnH+ykqXSxk524/GubG7uEiF9IhCnD8whKH6vUlOgsfzZFHxCAUD8tPiDTOCJULjXx4sRQUHyu0HIvwW1CwmQDSz4l0oJkILwiB49dxWgc0Oy+uu0z/TCnn+myuPDTbnGLdEhfluqAxUuE7OlS27w
+lMvPQzNtRFpZlAGIK+eWN3LI4Lzb8o6SQfSwB9+K/t59yKBa/sw93Mu1obJrVYD9IGuHFbRAVrYofHBillshPIjnINWq6ujMzurS8VdY4BHO+auanc00xg==
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 34 of 36



                                                                                                                                                                                                Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 04 May 2023 11:04:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SY+FGqa2fGxRynFWIh37Z1of5kWYf6inHRCcBn25htSz10s8QHR7gcs2gCPtzj+LGKzYdqqvpMD+6dOCQ2YfeXlqVgE3fNOaoWaxOsRcT33I8ds7P9mpi79CF4FDNYqVyfoEoEaREK45T8AtaBYIBlTFkswGLL
   +VNUlTCSsYX3D22lbm58mYBHk0ua75+ijqyjwHgdqlgtED3S5G30PlkCDwICbvOo2V004YEc5nvNMiVwgtcFX26O6xaeg27HZohH0a1syuYuJ7OUZ1/OkufUcF622VJjU4bvW+D+WnXZ3dByD5ERyyh/7oeNzjIvxvI3W/AeLRRMlYEb6nqCa67A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-04-May-2023-11-04-43-GMT.mhtml

   Hash (SHA256)
   08449b41c99a7b99207746a8e9d17040f18e8395e42145910bde2cfe094453af

   Signature (PKCS#1v1.5)
uzPbpxIT3KNFv94d/2ENJKnzlJqkAbMOKBCgkrroCWlezzfgizCvDFCq6D2Sdcj8uvwSgwwLLd0A6X6mjkSXZaXPqNxP+WL5NdfrUPU/UHSc7VnVClOcwQYjlapSU4vdMEYro7eQREG/bWGXmzXWwGqQkPuBprEeDKOW028/tov2sJMHb6cxoVH6RYV
+pX7iQgLYVFVPO9pQAgzrjtLfRT0Jul9OdCquBZVqMKG4KdwUQUoIsxmO9HQuY9+KckCTJUV2flDf2u9JMxixGA4mNxejBtY92v0h+LrB/uSPj1oJtmsvYZ4/R4pC2EcXkIV/DlKvlV0+vyLgvuZbJvf0ug==
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 35 of 36



                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: soofylia Smiley Face Cosmetic Bag Makeup Bag for Women,Large Capacity Corduroy Cosmetic Bag,Travel Toiletry Bag Accessories Organizer Girls Pencil Case Bags (Brown Smile) : Beauty & Personal Care

   URL
   https://www.amazon.com/soofylia-Cosmetic-Accessories-Organizer-Case/dp/B0BN894LVR/ref=sr_1_317

   Collection Date
   Fri, 21 Apr 2023 06:04:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iEaBkHoCkM6uzdGk4zaCF/TEJFITuxevmS4AdfO7X7/sgxTKWqyFQBYGYikJ7HQpuRntFBJ2QcznMmyOaUSHHaYFXT0zajMOMuAuqdc2kz9cxQgxvfN1kflNnNn1ln+p1gu9f+bfRLZdz/LjbLOBOO8jIGFpYETsWL7iuVCiJOc=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]soofylia-Cosmetic-Accessories-Organizer-Case[fs]dp[fs]B0BN894LVR[fs]ref=sr_1_317]]_Fri,-21-Apr-2023-06-04-37-GMT.pdf

   Hash (SHA256)
   b7bd782704f94b84c5501a3d2d87cab1a705f05817c14c4c57d87a336dbbb7eb

   Signature (PKCS#1v1.5)
ByZ/cg0Mc+GFTwJS17BulUP1inPmQLGOnlv3Bpi1ntA2+itxKvlIlwieNGlEdiZyuOdhNWF09bcytma5F3eARdZ1WaCNmKE4eYnL7lGTNzRNbEq8/2Esc4PWKF0zI0K/gjNZU6U+fFMmQUI7yqtO1EL5Ye/P5CbE6O+hUXtMqaI=
                                                                                Case 0:23-cv-61203-AHS Document 38-3 Entered on FLSD Docket 07/27/2023 Page 36 of 36



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 09:26:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   T0e25x+/bHeut5PyX8Ag+t1lEn5mfS423KeaNW6AgD/U0+Veq2h1qzn2kVeaM2MCm2015okE6A/q4Bn1po18bs2RS9CRJyHYBBPCC2MrRlHoKZB2kRcYop6dOBRkbU9PzU36b9vgWAy1MKxY/HSd1YDOrhwpIZofGv3fvL+wf9Fgkt6n1G9TdgeWSU9uEpe+2r5aZhEKWvq57C8JY
   +FTvEYImTzBHrvsxyQAtN+yJxQFGCplKf0Z53oE71K8kgfYUSiUCV5FDo74mBxG6U+wdE6kbxhIy3TW9yW5nLQWCWBm0wMpfsuUVy99AcqoE24Vcxj2/pnx3qE7BF8z6pn6Rg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-09-26-40-GMT.mhtml

   Hash (SHA256)
   0216ca52e53ca0ece7171eb37495800553f8f6f67b2932020cc2d8d676f97a1f

   Signature (PKCS#1v1.5)
qshlJX7L9PLJqakD3EJfhhmYr7iSkfmBPYPsir6FdwRrmmuc0+MdqlFLsdZzqhhgSKA46XWtDzjFXWRQFiNSoxr1nu/E9lkWX3bwTe7c/lUo+jH//+Jt7Znawd0jWmaa7kUBtUZs3yLZXCWUdsreYrjt0ABklWtCsFHL1Po+slODyrpBRELiXD58VnSBmM/
e3U3XvVRhc3M4q4okDMkskGIJwq8eBFT9dq0nsW8T3zUzF6IkqtFysuzbCURYSxZUIv0O8ZvCdyl/8QRw5+DWaD4PmsBLWOLGR6b9sBWsH0V+8C34LQhaP/ZPe0SDacz4nI8FTfmx6uVi7eCxJfjimQ==
